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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
_____________________________________________
                                              )
UNITED STATES SECURITIES AND                 )
EXCHANGE COMMISSION,                         ) No. 3:15-CV-675 (JBA)
                                              )
                        Plaintiff,            )
                                              )
      v.                                      )
                                              )
IFTIKAR AHMED,                               )
                        Defendant, and        )
                                              )
IFTIKAR ALI AHMED SOLE PROP; et al.,          )
                                              ) SEPTEMBER 4, 2019
                        Relief Defendants.    )
_____________________________________________)

    RELIEF DEFENDANTS’ RESPONSE IN OPPOSITION TO THE RECEIVER’S
             SECOND APPLICATION FOR FEES AND EXPENSES

       Relief Defendants join the Defendant’s Response in Opposition (ECF No. 1261) to the

Receiver’s Second Application for Fees and Expenses (ECF No. 1249) to the extent that it does

not conflict with any of Relief Defendants’ currently pending motions before the Court.

                                                Respectfully Submitted,

                                                By:  /s/ Paul E. Knag
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                                                Shalini Ahmed 2014 Grantor Retained
                                                Annuity Trust, Diya Holdings, LLC, Diya
                                                Real Holdings, LLC, I.I. 1, I.I. 2 and I.I. 3



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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 4, 2019, a copy of the foregoing RELIEF

DEFENDANTS’ RESPONSE IN OPPOSITION TO RECEIVER’S SECOND APPLICATION

FOR FEES AND EXPENSES will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF system.

                                                     /s/ Paul E. Knag
                                                  Paul E. Knag – ct04194




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